         Case 1:24-mj-08080-PGL Document 2-2 Filed 01/29/24 Page 1 of 6


                                                                                     24-8080-PGL

                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, Joshua Bouchard having been duly sworn, state as follows:

                         INTRODUCTION AGENT BACKGROUND

       1.      I am a Special Agent with the Federal Bureau of Investigation and have been

since September 2015. I am a “federal law enforcement officer” within the meaning of Federal

Rule of Criminal Procedure 41(a)(2)(C), that is, a government agent engaged in enforcing

criminal laws and duly authorized by the Attorney General to request a search warrant. I was

assigned to the Newark Division until 2023. I am currently assigned to the Lakeville Resident

Agency within the Boston Division. My experience as an FBI Special Agent has included the

investigation of cases involving public corruption and civil rights violations, and cases involving

the use of computers to commit crimes. I have received training and have gained experience in

interview and interrogation techniques, arrest procedures, search warrant applications, the

execution of searches and seizures, computer crimes, computer evidence identification, computer

evidence seizure and processing, and various other criminal laws and procedures. I am also an

attorney and have been licensed since 2012. I have not included every detail of my training,

education, and experience but have highlighted those areas most relevant to this application.

       2.      As an FBI Special Agent, I have used various investigatory tools and techniques,

including confidential informants, cooperating witnesses, undercover agents, physical

surveillance, search warrants, telephone toll analysis, court-authorized electronic surveillance,

grand jury investigations, and witness interviews. I am familiar with the benefits and limitations

of these techniques. I have also participated in the execution of search warrants resulting in the

seizure evidence; United States currency; computers, cell phones, and other electronic devices

used in the commission of federal crimes.
           Case 1:24-mj-08080-PGL Document 2-2 Filed 01/29/24 Page 2 of 6


                                                                                     24-8080-PGL

          3.   As a federal agent, I am authorized to investigate violations of United States laws,

including, but not limited to, violations of 18 U.S.C. § 844(e), 18 U.S.C. § 875(c), 18 U.S.C. § 247

and other civil rights statutes, and to execute warrants issued under the authority of the United

States.

          4.   This affidavit is submitted in support of an application for a criminal complaint

charging JOHN REARDON (hereinafter, “REARDON”) with using an instrument of interstate

commerce to willfully make a threat to kill, injure, or intimidate any individual or unlawfully to

damage or destroy any building, vehicle, or other real or personal property by means of an

explosive in violation of 18 U.S.C. § 844(e).

          5.   As described below, there is probable cause to believe that on or about January 25,

2024, REARDON did use a cell phone, an instrument of interstate commerce to threaten to injure

the Agudas Achim Synagogue and its congregants with an explosive device.

          6.   This affidavit is based on my personal investigation and investigation by others,

including law enforcement officials whom I know to be reliable and trustworthy. The facts

contained herein have been obtained by conferring with witnesses, other law enforcement officers

and examining evidence obtained in the course of the investigation as well as through other means.

This affidavit does not include every fact known to me about this investigation, but rather only

those facts sufficient to establish probable cause.




                                                  2
           Case 1:24-mj-08080-PGL Document 2-2 Filed 01/29/24 Page 3 of 6


                                                                                          24-8080-PGL

                                STATEMENT OF PROBABLE CAUSE

          7.       Congregation Agudas Achim is a Synagogue1 and place of worship for persons of

the Jewish faith. It is located in Attleboro, Massachusetts.

          8.       At approximately 8:54am on January 25, 2024, Witness 1, an employee of the

Congregation Agudas Achim, contacted the Attleboro Police Department.

          9.       Witness 1 indicated that as they were walking into the Synagogue that morning,

they heard a voicemail being left on the Synagogue’s telephone.

          10.      Upon further investigation, it became clear that that voicemail had been left at

8:46am.

          11.      The voicemail left on the Synagogue’s telephone was preserved and officers

listened to the message. During the course of the approximately two-minute message, the caller

stated:

                a. “From the river to the sea;”
                b. “you do realize that by supporting genocide that means it’s ok for people to
                   commit genocide against you.’
                c. “with supporting the killing of innocent little children, that means it’s OK to kill
                   your children”
                d. “people are going to use your logic against you stupid fucks"
                e. “Guess what? We are going to use your logic if you can kill the Palestinians we
                   can kill you.”
                f. “if you can bomb their fucking places of worship we can bomb yours, if you can
                   kill their children we can kill yours”
                g. “you people need to stop the fucking genocide”
                h. “end the genocide, or it is time to end Israel and all the Jews”
                i. “I supported Jewish people though. Not anymore. A matter of fact I think we
                   should kill you(s) all.”
                j. “have a lousy day and oh don't be surprised if there's pig blood on your steps
                   tomorrow”

1
  According to its website, members pay dues to maintain membership and the Congregation
consists of members from southeastern Massachusetts and Northern Rhode Island.

                                                      3
         Case 1:24-mj-08080-PGL Document 2-2 Filed 01/29/24 Page 4 of 6


                                                                                    24-8080-PGL

       12.     Witness 1 interpreted the voicemail as threatening and harassing. Witness 1 was

extremely disturbed by the voicemail and visibly upset when law enforcement arrived. The

voicemail caused Witness 1 to become afraid for their safety, the safety of other congregants,

and the safety of the premises.

       13.     Officers noted that that voicemail had been left by a person who appeared on the

caller ID with the name “Reardon John” and with a specific phone number ending in 4333 (“the

4333 number.”)

       14.     Officers noted that a person by the name of John Reardon had a recent call for

service with the Attleboro Police Department, where he provided police with the 4333 number as

his phone number.

       15.     Officers confirmed that the 4333 number was registered to a John Reardon.

       16.     Investigators from the Attleboro Police Department sought and obtained an arrest

warrant for REARDON and placed him under arrest at 1:09pm on January 25, 2024.

       17.     REARDON was arrested, read his Miranda rights, and was booked at the

Attleboro Police Department.

       18.     During the routine booking process, REARDON provided his phone number as

the 4333 number.

       19.     REARDON waived his Miranda rights and agreed to be interviewed by officers.

Post Miranda, REARDON admitted that he left the voicemail earlier that morning at

Congregation Agudas Achim.




                                                4
         Case 1:24-mj-08080-PGL Document 2-2 Filed 01/29/24 Page 5 of 6


                                                                                     24-8080-PGL

       20.     REARDON indicated that he located Congregation Agudas Achim’s phone

number via a Google2 search.

       21.     REARDON signed a consent form to permit officers to inspect the call log on his

cellular phone. Contained within his call log was a 2 minute and 13 second call placed to

Congregation Agudas Achim at 8:46am that morning.

       22.     REARDON’S call log also revealed that he had called another local Synagogue at

8:49am and another local Jewish affiliated organization at 8:42am.

       23.     I am aware that REARDON is alleged to have previously made threats on at least

two prior occasions, and thus he was aware of the implications of making threats to harm people.

Specifically, in 2022, REARDON was investigated for leaving a threatening voicemail at a

school for K-12 students in Framingham, Massachusetts. He was also charged for making

violent threats to employees at a local bank in 2020.

                                      CONCLUSION

       24.     Based on the foregoing, I respectfully submit that there is probable cause to

support a criminal complaint charging JOHN REARDON with using an instrument of interstate

commerce to willfully make a threat to kill, injure, or intimidate any individual or unlawfully to

damage or destroy any building, vehicle, or other real or personal property by means of

an .explosive in violation of 18 U.S.C. § 844(e).


                                                               Joshua Bouchard /by Paul G. Levenson
                                                             _____________________________
                                                             Joshua Bouchard
                                                             Special Agent
                                                             Federal Bureau of Investigations

2
        I am aware that Google is an Internet search engine. According to open sources, Google
stores user information in about 25 data centers located throughout the world. None of these data
centers is located within Massachusetts.

                                                    5
         Case 1:24-mj-08080-PGL Document 2-2 Filed 01/29/24 Page 6 of 6


                                                                   24-8080-PGL



Attested to by the applicant in accordance
with the requirements of Fed. R. Crim. P. 4.1
by phone, on this 28th day of January 2024,
at Boston, Massachusetts.


_______________________________________
HONORABLE PAUL G. LEVENSON
UNITED STATES MAGISTRATE JUDGE




                                                6
